                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
DARAIUS DUBASH AND                                   §
DR. FARAZ HARSINI                                    §
                                                     §
v.                                                   §
                                                     §                              CIVIL ACTION
CITY OF HOUSTON, TEXAS;                              §
HOUSTON DOWNTOWN PARK                                §                      NO.: 4:23-CV-03556
CORPORATION; OFFICER ROBERT                          §
DOUGLAS (#7943), IN HIS INDIVIDUAL                   §
CAPACITY; OFFICER VERN WHITWORTH                     §
(#7595), IN HIS INDIVIDUAL CAPACITY;                 §
DISCOVERY GREEN CONSERVANCY                          §           JURY DEMAND REQUESTED
F/K/A HOUSTON DOWNTOWN PARK                          §
CONSERVANCY, AND BARRY MANDEL,                       §
IN HIS INDIVIDUAL CAPACITY                           §


          ORDER GRANTING DEFENDANT HOUSTON DOWNTOWN PARK
             CORPORATION’S MOTION TO DISMISS PURSUANT TO
           FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) and 12(b)(6)


       Defendant, HOUSTON DOWNTOWN PARK CORPORATION, having moved for an Order

pursuant to Fed.R.Civ.P. 12(b)(6) dismissing the Complaint against it, and this Court having found

said Motion to have merit, it is hereby

       ORDERED that the Motion to Dismiss is GRANTED, and it is further,

       ORDERED that the Complaint against Defendant, HOUSTON DOWNTOWN PARK

CORPORATION, is hereby DISMISSED in its entirety, pursuant to Rules 12(b)(1) and 12(b)(6) of

the Federal Rules of Civil Procedure, with prejudice to the refiling of the same.

       SO ORDERED on this ____ day of __________________, 2024.


                                              __________________________________________
                                              THE HONORABLE ANDREW S. HANEN
                                              UNITED STATES DISTRICT JUDGE
